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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

  SHERI JAMES,

        Plaintiff,

  v.
                                              CASE NO.: 8:16-cv-02773-SDM-TGW
  INTELLIGENT SOFTWARE SOLUTIONS, INC.,

        Defendant.
                                        /


                     DEFENDANT’S PROPOSED JURY VERDICT FORM




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 FORM A

 Count 1: Florida Civil Rights Act – Sexual Harassment

 Do you find from a preponderance of the evidence:

       1. That Ms. Bennett harassed Ms. James because of her sex?

                         Answer Yes or No              _____________

              If your answer is “No,” this ends your deliberations regarding the questions

       on Form A and you should move on to Form B. If your answer is “Yes,” go to the

       next question.

       2. That the harassment created a hostile work environment for Ms. James?

                         Answer Yes or No              _____________

              If your answer is “No,” this ends your deliberations regarding the questions

       on Form A and you should move on to Form B. If your answer is “Yes,” go to the

       next question.

       3. That Ms. James’s supervisor knew, or in the exercise of reasonable care should

       have known, about the hostile work environment?

                         Answer Yes or No              _____________

       If your answer is “No,” this ends your deliberations regarding the questions on

       Form A and you should move on to Form B. If your answer is “Yes,” go to the next

       question.

       4. That Ms. James’s supervisor took prompt remedial action to eliminate the hostile

       work environment?

                         Answer Yes or No              _____________

       If your answer is “Yes,” your verdict is for Intelligent Software Solutions, Inc on

       Claim 1. If your answer is “No,” complete questions 1 through 5 of Form D.
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 FORM B

 Count 2: Florida Civil Rights Act - Retaliation

 Do you find from a preponderance of the evidence:

        1. That Ms. James engaged in protected activity?

                          Answer Yes or No             _____________

        If your answer is “No,” this ends your deliberations regarding the questions on

        Form A and you should move on to Form C. If your answer is “Yes,” go to the next

        question.

        2. That Intelligent Software Solutions, Inc. took an adverse employment action

        against Ms. James?

                          Answer Yes or No             _____________

        If your answer is “No,” this ends your deliberations regarding the questions on

        Form A and you should move on to Form C. If your answer is “Yes,” go to the next

        question.

        3. That Intelligent Software Solutions, Inc. took the adverse employment action

        because of Ms. James’s protected activity?

                          Answer Yes or No             _____________

        If your answer is “No,” your verdict is for Intelligent Software Solutions, Inc on

        Claim 2. If your answer is “Yes,” complete questions 6 through 9 on Form D.




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 FORM C

 Count 3: Florida Private Whistleblower Act - Retaliation

 Do you find from a preponderance of the evidence:


       1.     That Ms. James objected to an activity, policy, or practice of the Intelligent
       Software Solutions, Inc.?

       Yes __________                 No __________

       (NOTE: If you answered “No” to question 1, please proceed to statement 4. If you
       answered “Yes” to question 1 please proceed to question 2.)

       2.    That the activity, policy, or practice of Intelligent Software Solutions, Inc. to
       which Ms. James objected was an actual violation of a law, rule or regulation?

       Yes __________                 No __________

       (NOTE: If you answered “No” to question 2, please proceed to statement 4. If you
       answered “Yes” to question 2 please proceed to question 3.)

       3.     That Intelligent Software Solutions, Inc. terminated Ms. James because she
              objected to, or refused to participate in, any activity, policy, or practice of the
              employer which is in violation of a law, rule, or regulation?

       Yes __________                 No __________

       (NOTE: If you answered “No” to question 3, please proceed to statement 4. If you
       answered “Yes” to question 3 please proceed to questions 6 through 9 of Form D.)


       4.     Your verdict is for Intelligent Software Solutions, Inc.




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 FORM D

 Damages – Sexual Harassment


        1. That Ms. James suffered damages because of the hostile work environment?

                           Answer Yes or No              _____________

        If your answer is “No,” this ends your deliberations and your foreperson should

        sign and date the last page of this verdict form. If your answer is “Yes,” go to the

        next question.

        2. That Mr. James properly mitigated her damages by making a reasonable effort

             to seek and retain comparable employment?

                           Answer:     Yes_______      No_______

        If “No”, this ends your deliberations. Please have your Foreperson at the bottom of

 the verdict forms.

        3. That Ms. James should be awarded damages to compensate for a net loss of

             wages and benefits to the date of your verdict?

                           Answer Yes or No              _____________

                         If your answer is “Yes,”
                         in what amount?              $_____________

        4.   That Ms. James should be awarded damages to compensate for emotional pain

             and mental anguish?

                           Answer Yes or No              _____________

                         If your answer is “Yes,”
                         in what amount?              $_____________

        If you did not award damages in response to either Question Nos. 3 or 4, this ends

        your deliberations, and your foreperson should sign and date the last page of this


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       verdict form. If you awarded damages in response to Question Nos. 3 or 4 (or both),

       go to the next question.

       5. That punitive damages should be assessed against Intelligent Software

           Solutions, Inc.?

                          Answer Yes or No              _____________

                         If your answer is “Yes,”
                         in what amount?            $_____________



 Damages - Retaliation


       6. That Ms. James suffered damages because of the adverse employment action?

                          Answer Yes or No              _____________

       7. That Mr. James properly mitigated her damages by making a reasonable effort

           to seek and retain comparable employment?

                          Answer:     Yes_______     No_______

       If “No”, this ends your deliberations, and your foreperson should sign and date the

       last page of this verdict form. If “Yes” move to the next question.

       8. That Ms. James should be awarded damages to compensate for a net loss of

           wages and benefits to the date of your verdict?

                          Answer Yes or No              _____________

                         If your answer is “Yes,”
                         in what amount?            $_____________

       9. That Ms. James should be awarded damages to compensate for emotional pain

           and mental anguish?

                          Answer Yes or No              _____________

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                            If your answer is “Yes,”
                            in what amount?            $_____________

         If you did not award damages in response to either Question Nos. 8 or 9, this ends

         your deliberations, and your foreperson should sign and date the last page of this

         verdict form. If you awarded damages in response to Question Nos. 8 or 9 (or both)

         and if you found for the Plaintiff on Count 2 (Retaliation under the Florida Civil

         Rights Act), go to the next question.

         8.   That punitive damages should be assessed against Intelligent Software

         Solutions, Inc.?

                             Answer Yes or No            _____________

                            If your answer is “Yes,”
                            in what amount?            $_____________




 SO SAY WE ALL.


                                                             Foreperson’s Signature
 DATE:




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  DATED June 29, 2018
                                                  Respectfully submitted,


                                                  /s/ Kevin D. Zwetsch
                                                  Kevin D. Zwetsch
                                                  FL Bar # 962260
                                                  Ina F. Young
                                                  FL Bar # 117663
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                                                    SMOAK & STEWART, P.C.
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                                                  Attorneys for Defendant


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 29, 2018, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to

 Shaina Thorpe and James J. Thorpe, counsel for Plaintiff at: Shaina@thorpelawyers.com;

 jim@thorpelawyers.com.

        I FURTHER CERTIFY that to the best of my knowledge there are not any non-CM/ECF

 participants that require notification of this response via U.S. Mail.

                                                   /s/ Kevin D. Zwetsch
                                                   Kevin D. Zwetsch




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